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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-cv-23213-BLOOM/Otazo-Reyes

 YARIBEL RABELO-RODRIGUEZ,
 et al.,

        Plaintiffs,

 v.

 UNITED STATES SECRETARY
 OF HOMELAND SECURITY,

       Defendant.
 _____________________________/

                       ORDER JOINT MOTION AND STIPULATION
                        TO DROP CERTAIN NAMED PLAINTIFFS

        THIS CAUSE is before the Court upon the Joint Motion and Stipulation to Drop Certain

 Named Plaintiffs, ECF No. [60] (“Motion”), filed on December 29, 2021. The Court has reviewed

 the Motion, the record, and is otherwise fully advised.

        Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [60], is

 GRANTED. The following Plaintiffs are DISMISSED WITH PREJUDICE because their

 individualized claims have been resolved by stipulation of the Parties:

        1. Alejandro GRANA-ALARCON,

        2. Anairis Yanet MUNOZ-CARPINTERO,

        3. Ernesto VENTO-FALCON,

        4. Danay ABREU-GRIJALBA,

        5. Amanda Giselle VENTO-ABREU,

        6. Ana Laura VENTO-ABREU,

        7. Yensy TORRES-PEREZ,
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        8. I- M-T- (a minor child),

        9. Leyanet QUIALA-ALMIRA,

        10. Karla Maria HERNANDEZ-SUPERVIEDA,

        11. Yaima SUPERVIEDA-ABRAHANTE,

        12. Julio Oriel VAILLANT-CERA,

        13. Rosa Betzi VEGA DE LA PAZ,

        14. Guido ALVAREZ-TROTSMAN,

        15. Yasmani AVILA-VELASQUEZ,

        16. Alberto Carlos LOPEZ-AGUILERA,

        17. Maitte OSORIO-VAN-VIN,

        18. Erichsander RIVERA-VAN-VIN,

        19. Yeinis JEREZ-RODRIGUEZ,

        20. Yobany ESPINOZA-CRUZ,

        21. Yanet GUZMAN-ESCOBAR,

        22. Yoharner Enrique SANCHEZ-DOBANO.

        DONE AND ORDERED in Chambers at Miami, Florida, on December 29, 2021.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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